                       UNITED STATES BANKRUPTCY COURT                                                                        FOR COURT USE ONLY
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:

           Danita Ana Miller


S.S.#     xxx-xx-8016
                                  and

                                                                            CASE NO. 11-40797-mbm
S.S.#                           Debtor(s)                                   CHAPTER 13
__________________________________/

                                                          FIRST AMENDED CHAPTER 13 PLAN

                        [ ] Original OR [ X ] Modification #                 1                   [ X ] pre-confirmation OR [ ] post-confirmation

I.         PLAN PAYMENTS & DISBURSEMENTS
           This is the debtor's(s') latest Chapter 13 Plan. The following Classes of claims are established for payment from funds
           available by the Trustee except those identified as "direct payments" as indicated herein.

           A.          The debtor shall make payments in the amount of $219.10 Bi-weekly for 60 months (frequency).
           B.          Plan length: 60 months, commencing on the date of entry of the Order Confirming Plan, which shall also be the
                       effective date of the Plan. The Trustee is hereby authorized to automatically adjust the Plan length an additional six
                       (6) months to accomplish the purposes of this Plan, but in no event shall this Plan last more than five years.
           C.          Debtor commits 100% of all tax refunds received or entitled to after commencement of the case, and shall not alter
                       any withholding deductions/exemptions without Court approval.
           D.          Treatment of claims
                       1.       Class One - Administrative Expenses
                                a.        Trustee fees as determined by statute.
                                b.        Attorney fees and costs: An agreed fee of $ 3,000.00 less amounts paid as reflected in the Rule
                                          2016(b) Statement, leaving a balance due of $ 3,000.00 plus costs advanced in the amount of
                                          $ 0.00 which totals $ 3,000.00 . Said sum to be paid at the rate of $ 3,000.00 per month.
                                c.        Other:

                       2.         Class Two - Continuing Claims: Those secured claims on which the last payment is due beyond the length
                                  of the Plan [11 U.S.C. §1322(b)(5)]. To the extent such claims are non-modifiable pursuant to 11 U.S.C. §
                                  1322(b)(2), the Trustee shall adjust the monthly payment to such creditors upon compliance by the creditor
                                  with L.B.R. 3015-1(a)(9)(E.D.M.) and the debtor shall increase Plan payments as needed for such
                                  compliance.

                                  a.          Post-Confirmation

                        Creditor/Collateral                                                                         Monthly Payments
                        -NONE-



                                  b.          Post-Petition/Pre-Confirmation Arrears- (TO BE PAID IN FIRST 12 MONTHS):

                                                                                                                        Estimated
Creditor/Collateral                                                              Arrears Amount         Interest Rate   Monthly Payment Time to Cure
-NONE-




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                      3.         Class Three - Executory Contracts and/or Unexpired Leases [11 U.S.C. §1322(b)(7) and 11 U.S.C. §365]
                                 a.      Continuing, Post-Petition Obligations:

                                                         Assume/                     If assumed,
                                                         Reject/                     regular payment                Lease/Contract
Creditor/Collateral                                      Assign?                     per month                      expiration date
-NONE-


                                 b.         Pre-Petition Obligations:
                                                                                          If assumed,
                                                                                          number of months
                                                            If assumed,                   to cure from                    If assumed,
                                                            amount of                     confirmation date               monthly payment
Creditor/Collateral                                         Default                       + interest rate                 on cure
-NONE-



                      4.         Class Four - Arrearage on Continuing Claims [11 U.S.C. §1322(b)(5)]
                                 Pre-Petition Arrears:

                                                                                                   Estimated       Number of months to cure
Creditor/Collateral                                           Arrears Amount      Interest Rate    Monthly Payment from confirmation date
-NONE-



                      5.         Class Five - Other Secured Claims: Secured claims other than those listed in Classes Two and Four on
                                 which the last payment will become due within the Plan duration.

                                          "Crammed down"
                                          [11 U.S.C. 1325(a)(5)]                                        Monthly                            Number of
                                          or modified                                                   Payment          Total to Pay      months from
                                          [11 U.S.C. 1322(b)(2)]                 Market    Interest     (Incl.           (Incl.            confirmation
Creditor/Collateral                       Indicate Which                          Value       Rate      Interest)        Interest)         date
Aurora Loan Services                      Modified                             7,000.00     11.5%          385.21            19,260.25                50
Personal Residence
11336 Stockwell
Detroit MI 48224

                      6.         Class Six - Priority Unsecured Claims [11 U.S.C. §1322(a)(2)]

                                  Creditor                                                Amount       Interest Rate
                                  -NONE-

                      7.         Class Seven - Special Unsecured Claims shall be paid in full and concurrently with Class Eight General
                                 Unsecured Claims.

                                                                                                       Interest
                                  Creditor                                                Amount       Rate             Reason for Special Treatment
                                  -NONE-


                      8.         Class Eight - General Unsecured Claims shall be paid 25 % of such amounts with interest at the rate of
                                  0.00 % per annum. This Plan shall provide either the percent stated or shall continue for the length stated,
                                 whichever will offer the greater dividend to general unsecured creditors in this class.




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                      9.         Other Provisions: Insert as necessary



II.        GENERAL PROVISIONS

           A.         THIS PLAN FOLLOWS THE TRUSTEE'S PLAN IN ALL RESPECTS, WITH THE EXCEPTION OF:

           B.         VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon confirmation of the
                      Plan, all property of the estate shall vest in the debtor [11 U.S.C. §1327(b)]. The debtor shall remain in possession
                      of all property of the estate during the pendency of this case unless specifically provided herein [11 U.S.C.
                      §1306(b)]. All secured creditors shall retain the liens securing their claims unless otherwise stated.

           C.         SURRENDER OR ABANDONMENT OF COLLATERAL: Upon confirmation the automatic stay is lifted as to
                      any collateral treated as surrendered or abandoned.

           D.         PROHIBITION AGAINST INCURRING POST-PETITION DEBT: While this case is pending, the debtor shall
                      not incur a debt in excess of $1,000.00 without first obtaining approval from the Court.

           E.         UNSCHEDULED CREDITORS FILING CLAIMS: If a pre- or post-petition creditor is not listed in the Chapter
                      13 Schedules, but files a proof of claim, the Trustee is authorized to classify the claim into one of the existing classes
                      under this Plan and to schedule the claim for payment within that class.

           F.         PROOFS OF CLAIMS FILED AT VARIANCE WITH THE PLAN: In the event that a creditor files a proof of
                      claim that is at variance with the provisions of this Plan, the following method is to be employed to resolve the
                      conflict:

                      1.         Regarding claims for which the Plan does not propose a "cramdown" or modification, the proof of claim
                                 shall supersede the Plan as to the claim amount, percentage rate of interest, monthly payments, classification
                                 of the claim, percentage of interest on arrears, if any, but the proof of claim shall not govern as to the
                                 valuation of collateral.

                      2.         As to claims for which the Plan proposes a "cramdown" or modification, the proof of claim governs only as
                                 to the claim amount, but not with respect to any of the other aforementioned contractual terms.

                      3.         If a holder of a claim files a proof of claim at variance with this Plan or related schedules, the Trustee shall
                                 automatically treat that claim as the holder indicated, unless provided otherwise by order of the Court.

                      4.         A proof of claim or interest shall be deemed filed under 11 U.S.C. §501 for any claim or interest that
                                 appears in Classes Two, Three, Four or Five of this plan, except a claim or interest that is disputed,
                                 contingent or non-liquidated and labeled as such in this plan.

                                 NOTE: Debtor reserves the right to object to any claim.

           G.         TAX RETURNS AND TAX SET-OFFS: All tax returns which have become due prior to the filing of this Plan
                      have been filed except the following (see L.B.R. 2083-1(E.D.M.) regarding non-filed returns):
                             -NONE-

           H.         DEBTOR ENGAGED IN BUSINESS: [ ] If the box to the immediate left is "checked", the debtor is
                      self-employed AND incurs trade credit in the production of income from such employment.
                      1.       11 U.S.C. §1304(b) and (c) regarding operation of the business and duties imposed upon the debtor are
                               incorporated herein by reference.

                      2.         The debtor shall comply with the provisions of L.B.R. 3015-1(a)(8) and 2003-2(a)(b) (E.D.M.) unless the
                                 Court orders otherwise.

           I.         ORDER OF PAYMENT OF CLAIMS: Class One claims shall be paid in advance of others, then Classes Two
                      and Three in advance of all remaining classes, then Classes Four and Five, then Class Six, and then Classes Seven
                      and Eight shall be paid as stated in each respective section. [LBR 3015-1(a)(5) (E.D.M.)]
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           J.         WORKSHEET: The worksheet on a form available from the clerk's office, is required by L.B.R. 3015-1(b)(2)
                      (E.D.M.). It is attached hereto and incorporated herein by reference.

           K.         CONFLICT OF DEBT AMORTIZATION: If the amortization figures conflict with respect to those stated in
                      Class 2b, Class 3, Classes 4 Class 5, the time to cure shall be paramount, and the Trustee shall make alterations to
                      implement this statement.

           L.         DEBTOR DUTY TO MAINTAIN INSURANCE: Debtor shall maintain all insurance required by law and contract
                      upon property of the estate and the debtor's property. After confirmation of this Plan, if the debtor fails to maintain
                      full coverage collateral protection insurance as required above, any party in interest may submit an affidavit of
                      default and in the event that the default is not cured within ten (10) days from the date of service of the affidavit upon
                      the debtor, debtor's counsel and the Trustee, said party may submit an Order Granting Relief from the Automatic
                      Stay as to the collateral to the Court along with a further affidavit attesting to the debtor's failure to cure. Said Order
                      shall be granted without motion or hearing.

           M.         ENTRY OF ORDERS LIFTING STAY: Upon entry of Order Lifting Stay, no distributions shall be made to the
                      secured creditor until such time as an amended claim is filed by such creditor.




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     N. LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY [LBR 3015-1(b)(1)]:
                                                        DEBTOR'S
                           FAIR MARKET                  SHARE OF    EXEMPT    NON-EXEMPT
      TYPE OF PROPERTY         VALUE        LIENS        EQUITY    AMOUNT        AMOUNT

     PERSONAL RESIDENCE                                   7,000.00             15,258.55                 0.00        0.00                    0.00



              VEHICLES                                          0.00                 0.00                0.00        0.00                    0.00



   HHG/PERSONAL EFFECTS                                   2,000.00                   0.00            2,000.00   2,000.00                     0.00



               JEWELRY                                        30.00                  0.00              30.00        30.00                    0.00



    CASH/BANK ACCOUNTS                                        20.00                  0.00              20.00        20.00                    0.00



                 OTHER                                          0.00                 0.00                0.00        0.00                    0.00




                       Amount available upon liquidation                                                        $                           0.00

                       Less administrative expenses and costs                                                   $                           0.00

                       Less priority claims                                                                     $                           0.00

                       Amount Available in Chapter 7                                                            $                           0.00



/s/ Robert E. Reed                                                                   /s/ Danita Ana Miller
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Attorney for Debtor                                                                  Debtor
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313-961-7258 Fax:313-961-3110                                                        April 4, 2011
Phone Number                                                                         Date




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                                                                            WORKSHEET

1.          Length of Plan is                     weeks;               60      months;             years.

            Debtor #1:
                                                             ( Bi-weekly )
2.          $            219.10 per pay period x                 130           pay periods per Plan = $     28,483.00 total per Plan

            Debtor #2:
                                                                  ( )
            $                      per pay period x                            pay periods per Plan = $                total per Plan

3.          $                      per period x                                periods in Plan =

4.          Lump Sums:                                                                                                                        0.00

5.          Equals total to be paid into the Plan                                                                                       28,483.00

6.          Estimated trustee's fees                                                           2,278.80

7.          Attorney fees and costs                                                            3,000.00

8.          Total priority claims                                                                  0.00

9.          Total installment mortgage or
            other long-term debt payments                                                          0.00

10.         Total of arrearage
            including interest                                                                     0.00

11.         Total secured claims,
            including interest                                                                19,260.25


                                           Total of items 6 through 11                                                  $               24,539.05

12.         Funds available for unsecured creditors (item 5 minus item 11)                                         $                     3,943.95

13.         Total unsecured claims (if all file)                                                                   $                    15,607.80

14.         Estimated percentage to unsecured creditors under Plan (item 12 divided by item 13)                                              25 %

15.         Estimated dividend to general unsecured creditors if
            Chapter 7, (see liquidation analysis attached)                                                         $                          0.00

COMMENTS:




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